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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:
                                                                    Case No. 8-17-77725-las
Mi Kyung Ho dba Swang Beauty Inc.,
                                                                    Chapter 7
                          Debtor.
-----------------------------------------------------x
Richard L. Stern, Esq. as Trustee of the
Estate of Mi Kyung Ho,
                                                                    Adv. Proc. No. 8-18-08062-las
                              Plaintiff,
                    v.

Kang Ho,
                              Defendant.
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                                   ORDER SETTING PRETRIAL CONFERENCE

          A pretrial conference has been scheduled in this adversary proceeding for July 10, 2018 at 10:00

a.m. in accordance with Fed. R. Civ. P. 16(c), made applicable to this adversary proceeding by Rule 7016

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). The purpose of the pretrial

conference is to frame the issues to be decided, to establish appropriate guidelines for discovery

considering the nature of the matter to be tried, and to set a final pretrial conference date.

      IT IS HEREBY ORDERED THAT:

      1. The attorney who will serve as principal trial counsel and any unrepresented party must appear

           in person at all conferences with the Court.

      2. Counsel attending the pretrial conference must be authorized by their clients to make stipulations

           and admissions about all matters that can reasonably be anticipated for discussion.

      3. The parties are directed to submit via ECF a joint letter, not to exceed three pages in length, no

           later than July 3, 2018 addressing the following in separate paragraphs: (i) a brief description of

           the case, including the factual and legal bases for the claim(s) and defense(s); (ii) any

           contemplated motions; (iii) a brief description of any discovery that has already taken place; and

           (iv) the prospect for settlement.


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4. No later than fourteen (14) days before the pretrial conference the parties are directed to (a) hold

    a Fed. R. Civ. P. 26(f) planning meeting, provided, however, that no party is required to prepare

    and file on the docket a discovery plan; and (b) comply with the initial disclosure requirements

    of Fed. R. Civ. P. 26(a)(1). Any objections to the initial discovery disclosures required by Fed.

    R. Civ. P. 26(a)(1) shall be raised at the pretrial conference.

5. At the pretrial conference, counsel and any unrepresented party should be prepared to discuss all

    matters for consideration set forth in Fed. R. Civ. 16(c)(2) that would be applicable in an

    adversary proceeding, including but not limited to:

       a. the existence of any disputes concerning jurisdiction or venue, and in particular, whether

            this matter is core or noncore. The parties should also be prepared to state whether they

            will consent to the entry of final orders or judgments by this Court on any issue in this

            adversary proceeding, whether or not designated as core under 28 U.S.C. § 157(b)(3), or

            whether they wish to proceed to trial before this Court with the submission of findings of

            fact or conclusions of law on specific issues to the District Court. If the parties disagree,

            they shall each cite to relevant authority to support their positions;

       b. any need to amend the pleadings, join additional parties, or file any dispositive motions

            with respect to the pleadings;

       c. the identification of the principal uncontested facts and issues of law;

       d. the identification of the principal contested facts and issues of law;

       e. the appropriateness and timing of any motion for summary judgment under Bankruptcy

            Rule 7056;

       f.   the subjects with respect to which discovery may be needed, and anticipated discovery

            requirements, including:

                 i.      identification of witnesses and documents; and

                 ii.     discovery of expert witnesses;

       g. which admissions and stipulations about facts and documents can be obtained in advance;

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         h. the proposed deadline for completion of all discovery;

         i.   the possibility of settlement, including court-assisted settlement;

         j.   the desire to make use of alternative dispute resolution, such as mediation, which

              includes explaining mediation to the parties and whether the parties will consent to

              mediation;

         k. the estimated length of the trial; and

         l.   any other ways to facilitate the just, speedy and inexpensive resolution or determination

              of this adversary proceeding.

  6. Pursuant to Fed. R. Civ. P. 16(b), the Court will issue a scheduling order following the pretrial

      conference.

  7. Counsel for Plaintiff shall serve copies of this Order upon all parties to this adversary proceeding

      and upon any other party entitled to notice within five (5) days after the date of this Order and

      shall file proof of such service.




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Dated: May 2, 2018                                                        Louis A. Scarcella
       Central Islip, New York                                     United States Bankruptcy Judge

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